                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                              3:22-md-03036-RJC-DCK


                                   )
IN RE: GARDASIL PRODUCTS LIABILITY )                                    MDL No. 3036
LITIGATION                         )
                                   )                      THIS DOCUMENT RELATES TO
                                   )                              ALL CASES
                                   )
                                   )
                                   )
                                   )

                                SECOND PRETRIAL ORDER
       THIS MATTER comes before the Court following the first pretrial conference in this

MDL, held on October 11, 2022 (the “First Pretrial Conference”). At the First Pretrial Conference,

counsel indicated that they reached agreement, or are in the process of reaching agreement, on a

number of important issues. The Court commends counsel for their efforts on resolving these

important issues and encourages counsel to continue in these efforts.

       The Court having fully considered the parties’ filings before the First Pretrial Conference

and the arguments made by counsel at the First Pretrial Conference, IT IS, THEREFORE,

ORDERED that:

   1. SECOND PRETRIAL CONFERENCE AND AGENDA FOR CONFERENCE

       This matter is set for a second pretrial conference on November 9, 2022, at 1:00 P.M.,

Courtroom 8, at the United States District Court for the Western District of North Carolina,

401 West Trade Street, Charlotte, NC 28202. The Parties shall confer and file on or before

November 2, 2022: (1) a joint status report on the status of all matters to which they are ordered

to meet and confer, as described herein, plus any additional issues the parties wish to raise with

the Court; (2) any motions the parties wish to be heard at the Second Pretrial Conference; (3) any



         Case 3:22-md-03036-RJC Document 27 Filed 10/13/22 Page 1 of 6
proposed consent orders for the Court’s consideration; and (4) a joint proposed agenda for the

Second Pretrial Conference.

       Any parties that wish to appear by Microsoft Teams must contact Brittany Lynch,

Courtroom Deputy, in the Clerk’s Office at least 72 hours before the hearing. The phone number

for the Clerk’s Office is 704-350-7400, and Ms. Lynch can be reached at 704-350-7409 or via

email at Brittany_lynch@ncwd.uscourts.gov.

   2. LEAD COUNSEL, LIAISON COUNSEL, AND OTHERS

       At the First Pretrial Conference, the Court considered the Plaintiffs’ and Defendants’

recommendation for co-lead and liaison counsel.      Without objection, the Court approves

Defendants’ recommendation for Defendants’ co-lead and liaison counsel. The following are

APPOINTED to serve as Defendants’ co-lead and liaison counsel:

                      Allyson M Julien
       Goldman Ismail Tomaselli Brennan & Baum LLP
           200 South Wacker Drive, Ste 22nd Floor
                                                                Co-lead Counsel
                      Chicago, IL 60606
                        312-681-6000
                ajulien@goldmanismail.com
                    David Eidson Dukes
            Nelson Mullins Riley & Scarborough
                 1320 Main St., 17th Floor
                       Meridian Bldg                            Co-lead Counsel
                    Columbia, SC 29201
                        803-255-9451
              david.dukes@nelsonmullins.com
                 David Calep Wright , III
               Robinson Bradshaw & Hinson,
               101 N. Tryon Street, Suite 1900
                                                                Liaison Counsel
                    Charlotte, NC 28246
                        704-377-8322
              dwright@robinsonbradshaw.com




        Case 3:22-md-03036-RJC Document 27 Filed 10/13/22 Page 2 of 6
       Without objection, the Court approves Plaintiffs’ recommendation for Plaintiffs’ co-lead

and liaison counsel. The following are APPOINTED to serve as Plaintiffs’ co-lead and liaison

counsel:


                       Bijan Esfandiari
              Baum Hedlund Aristei & Goldman
             10940 Wilshire Blvd., Ste 16th Floor
                                                                   Co-lead Counsel
                    Los Angeles, CA 90024
                         310-207-3233
             vadlivankina@baumhedlundlaw.com
                       K. Rachel Lanier
                     The Lanier Law Firm
                 21550 W Oxnard St 3rd Floor,
                                                                   Co-lead Counsel
                  Woodland Hills, CA 91367
                         713.659.5200
               rachel.lanier@lanierlawfirm.com
                        Paul J. Pennock
                       Morgan & Morgan
                 350 Fifth Avenue, Suite 6705
                                                                   Co-lead Counsel
                     New York, NY 10118
                         813-225-6747
                 ppennock@forthepeople.com
                        Allison Mullins
                    Turning Point Litigation
            Mullins Duncan Harrell & Russell PLLC
                 300 N. Greene St., Suite 2000                     Liaison Counsel
                    Greensboro, NC 27401
                         336-645-3321
                 amullins@turningpointlit.com


The duties of the Court appointed co-lead and liaison counsel are set forth in the Manual for

Complex Litigation, Fourth.

   3. PLAINTIFFS’ COMMITTEE(S)

       Prior to the Second Pretrial Conference, counsel for the Plaintiffs shall, to the extent they

have not already done so, confer and seek consensus on the need for any Plaintiffs’ committees.

If needed, Plaintiffs must file a request for appointment of the specific committee(s) on or before

November 2, 2022. Plaintiffs’ request shall include Plaintiffs’ recommendations for the committee


           Case 3:22-md-03036-RJC Document 27 Filed 10/13/22 Page 3 of 6
members, including each proposed members’ resume or curriculum vitae, educational background,

licensing status, a list of relevant experience with cases in similar areas including prior similar

appointments, and how and at what rates members will expect to be compensated or reimbursed

for services rendered. The court will give substantial weight to the recommendations submitted

for committee members.

   4. CASE MANAGEMENT PLAN

       a. Pleadings

       The parties agreed at the First Pretrial Conference that there is no need for a master or form

complaint at this time. As to the outstanding matters, the parties shall meet and confer on the

following:

      Deadline for amending pleadings;

      Deadline for filing counterclaims, crossclaims, and third-party complaints;

      Deadline for Federal Rule of Civil Procedure 12 motions;

      Answer deadlines, including consideration of Defendants’ proposal at the First Pretrial

       Conference for a single answer deadline after the Court rules on any Rule 12 motions; and

      Whether Defendants’ answer shall be filed as a general denial and affirmative defenses or

       an answer to each individual complaint.

       As noted above, the Parties shall set forth the status of these matters in their joint status

report filed on or before November 2, 2022, in anticipation of the Second Pretrial Conference.

       b. Discovery Plan

       At the First Pretrial Conference, the parties represented that they agree generally on a

timeline for this MDL, but propose differing discovery plans. Defendants propose phased

discovery, prioritizing discovery for certain alleged injuries on what they characterize as two




         Case 3:22-md-03036-RJC Document 27 Filed 10/13/22 Page 4 of 6
threshold issues: general causation and implied preemption. In addition, Defendants propose a

limited workup of “core discovery” for certain Plaintiffs, but not on specific causation. On the

other hand, Plaintiffs propose more traditional and complete discovery, including on general and

specific causation, for a limited number of Plaintiffs.

        The parties are ordered to continue to meet and confer on this issue. The parties shall set

forth the status of their efforts on this issue in their joint status report filed on or before November

2, 2022. If the parties cannot reach agreement, each party may provide a statement on their position

in the joint status report, and the Court will rule on this issue at the Second Pretrial Conference.

        c. Discovery Disputes and Coordination

        In order to achieve the full benefits of the MDL proceedings, this Court may coordinate

with state courts presiding over related cases. Similarly, the Court expects the parties to coordinate

on discovery and other appropriate pretrial proceedings with any related state court litigation to

avoid unnecessary duplication and inconsistency to the extent possible. The parties shall meet and

confer on the existing discovery disputes before the hearing on discovery in state court set for

November 4, 2022, discussed at the First Pretrial Conference. While the Court cannot command

Plaintiffs’ counsel’s actions as to November 4, 2022 state court hearing, the Court reiterates that

it expects full coordination on discovery among this MDL and state court proceedings, to the extent

possible.    The parties shall set forth the status of their efforts on discovery disputes and

coordination in their joint status report filed on or before November 2, 2022.

        d. Fact Sheets

        Defendants suggest, and Plaintiffs did not oppose at the First Pretrial Conference, the early

use of fact sheets for certain information. The parties shall meet and confer on terms of these fact

sheets, related order, and the procedures to efficiently address: (1) failing to produce a Plaintiff




            Case 3:22-md-03036-RJC Document 27 Filed 10/13/22 Page 5 of 6
Fact Sheet; (2) producing a deficient Plaintiff Fact Sheet; (3) failing to produce a Defendant Fact

Sheet; (4) producing a deficient Defendant Fact Sheet; and (5) assertions that a Plaintiff did not

timely file and/or exhaust her or his claims in Vaccine Court as required by law. The parties shall

set forth the status of their efforts on the fact sheets in their joint status report filed on or before

November 2, 2022.

   5. ADDITIONAL MATTERS

       At the First Pretrial Conference, the parties informed the Court that they are in various

stages of agreement on the below issues. The parties shall meet and confer on the following:

              Proper party order

              Wavier of service

              Direct filing order

              Protective order

              ESI order
       The Parties shall set forth the status of these matters in their joint status report filed on or

before November 2, 2022.

       The Clerk of Court is directed to send a copy of this Order to the Clerk of the Judicial Panel

on Multidistrict Litigation.


            Signed: October 13, 2022




         Case 3:22-md-03036-RJC Document 27 Filed 10/13/22 Page 6 of 6
